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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA
-VS- Case No. 6:08-cr-176-Orl-28GJK

FRANK L. AMODEO

 

NOTICE REGARDING ENTRY OF A
PLEA OF GUILTY

In the event the Defendant decides at any time before trial to enter a plea of guilty. the United
States Magistrate Judge is authorized by Rule 6.01(c)(12). Middle District of Florida Local Rules,
with the consent of the Defendant, to conduct the proceedings required by Rule 11. F.R.Cr.P. incident
to the making of the plea. If, after conducting such proceedings, the Magistrate Judge recommends
that the plea of guilty be accepted, a presentence investigation and report will be ordered pursuant to
Rule 32, F.R.Cr.P. The assigned United States District Judge will then act on the Magistrate Judge’s
Report and Recommendation and if the plea of guilty is accepted, will adjudicate guilt and schedule
a sentencing hearing at which the district judge will decide whether to accept or reject any associated
plea agreement and will determine and impose sentence.

CONSENT

| hereby declare my intention to enter a plea of guilty in the above case and I request and consent to
the United States Magistrate Judge conducting the proceedings required by Rule 11, F.R.Cr.P. incident to the
making of such plea. I understand that if my plea of guilty is then accepted by the District Judge. the District
Judge will decide whether to accept or reject any plea agreement I may have with the United States and will
adjudicate guilty and impose sentence.

Date: September 23, 2008 ae - J a

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FRANK L. AMODEO Attorney for Deferidan

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